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7
                          UNITED STATES DISTRICT COURT
8
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,          )
10                                      )
               Plaintiff,               )
11                                      )   No. 2:16-CV-5376-DSF (PLAx)
                     v.                 )
12                                      )   AMENDED ORDER FOR INTERLOCUTORY
     REAL PROPERTY LOCATED IN NEW       )   SALE AND SUBSTITUTE RES
13   YORK, NEW YORK,                    )   PURSUANT TO 18 U.S.C. §§ 981
                                        )   (g)(6) and 983(j)
14                                      )
               Defendant.               )
15                                      )
     212 West 18th Street LLC,          )
16                                      )
                Titleholder.
17
18        Based on Plaintiff United States of America’s
19   (“Government”) and Claimant Board of Managers of the Walker
20   Tower Condominium, a/k/a Residential Section of the Walker Tower
21   Condominium’s (“Board of Managers,” and together with the
22   Government, “Movants”) joint ex parte application to amend the
23   interlocutory sale order for the Defendant Real Property Located
24   in New York, New York, and for good cause shown, the Movants’ ex
25   parte application is granted.     It is HEREBY ORDERED THAT:
26        1. The Government shall have sole discretion to accept the
27          offer (“Offer”) described in Movants’ application or any
28          offer that is within twenty-five (25) percent of the
                                        1
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1             value of the Offer for the interlocutory sale of the
2             Defendant Real Property;
3        2. All amounts currently due and owing to the Board of
4             Managers shall be paid out of the proceeds of the
5             interlocutory sale of the Defendant Real Property;
6        3. All other sale terms and procedures as outlined in the
7             Court’s Order for Interlocutory Sale of the Defendant
8             Real Property (DN 88) shall remain in effect; and
9        4. The Court shall retain jurisdiction to enforce the terms
10            of this Order and amend it as necessary.
11       IT IS SO ORDERED.
12   DATED:    March 19, 2020
13
                                      Honorable Dale S. Fischer
14                                    UNITED STATES DISTRICT JUDGE
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